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EXHIBIT 1

(Amended and Restated Certificate of Incorporation of Reorganized NED!

' The Debtors expressly reserve the right to supplement, modify or amend this document at any time prior to the
Effective Date.
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DRAFT
SUBJECT TO CHANGE

EXHIBIT 1

FIFTH AMENDED AND RESTATED
CERTIFICATE OF INCORPORATION
OF

NEENAH ENTERPRISES, INC.

Neenah Enterprises, Inc. (the Corporation”), a corporation organized and existing under
the General Corporation Law of the State of Delaware (as amended, the “DGCL”), DOES
HEREBY CERTIFY AS FOLLOWS:

The Corporation was originally incorporated under the name ACP Holding Company.
The original Certificate of Incorporation of the Corporation was filed with the office of the
Secretary of State of the State of Delaware (the “Secretary of State”) on August 30, 1989.

The name of the Corporation was changed to Neenah Enterprises, Inc. on August 3, 2007.

This Fifth Amended and Restated Certificate of Incorporation was duly adopted in
accordance with the provisions of Sections 103, 242, 245 and 303 of the DGCL, and amends,
integrates and restates, in its entirety, the provisions of the Corporation’s Fourth Amended and
Restated Certificate of Incorporation. Provision for the making of this Fifth Amended and
Restated Certificate of Incorporation is contained in the order of the United States Bankruptcy
Court for the District of Delaware dated as of [ ], 2010 confirming the [Joint Plan of
Reorganization for Neenah Enterprises, Inc. and its Subsidiaries], as amended (the “Plan’’) filed
pursuant to Section 1121(a) of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”).

This Fifth Amended and Restated Certificate of Incorporation shall become effective on
the date of filing with the Secretary of State (the “Effective Date”).

The Corporation’s Fourth Amended and Restated Certificate of Incorporation is hereby
amended, integrated and restated so as to read in its entirety as follows:

1. Name. The name of the corporation is Neenah Enterprises, Inc. (the “Corporation”).

2. Registered Office and Agent. The registered office of the Corporation in the State of
Delaware is located at 2711 Centerville Road, Suite 400, Wilmington, New Castle County, Delaware
19808. The name of its registered agent at such address is Corporation Service Company.

3, Nature of Business; Purpose. The nature of the business or purpose to be conducted
or promoted by the Corporation is to engage in any lawful act or activity for which corporations may

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be organized under the General Corporation Law of the State of Delaware (as amended, the
“DGCL”).

4, Capital Stock. The total number of shares of capital stock which the Corporation
shall have authority to issue is sixteen million (16,000,000) shares, consisting of: (a) fifteen million
(15,000,000) shares of common stock, $0.0001 par value per share (the “Common Stock”), and (b)
one million (1,000,000) shares of preferred stock, $0.0001 par value per share (the “Preferred
Stock”), issuable in one or more series as hereinafter provided. There shall be no cumulative voting.

A. Common Stock. Except as otherwise provided (i) by the DGCL, (ii) by
Article 4.B, or (iii) by resolutions, if any, of the board of directors of the Corporation (the “Board of
Directors”) adopted in accordance with the provisions of Article 4.B below and the Bylaws of the
Corporation fixing the relative powers, preferences and rights and the qualifications, limitations or
restrictions of any series of Preferred Stock, the entire voting power for the election of directors and
for all other purposes shall be vested exclusively in the Common Stock. Except as otherwise
provided herein or by applicable law, each share of Common Stock shall have one vote upon all
matters to be voted on by the stockholders generally. Subject to the rights and preferences of any
series of Preferred Stock (as fixed by resolutions, if any, of the Board of Directors adopted in
accordance with the provisions of Article 4.B below and the Bylaws of the Corporation), the holders
of shares of Common Stock shall be entitled to receive such dividends and other distributions
(payable in cash, property or capital stock of the Corporation) when, as and if declared thereon by the
Board of Directors from time to time out of any assets or funds of the Corporation legally available
therefor and shall share equally on a per share basis in such dividends and distributions. Each share
of Common Stock shall share equally, subject to the rights and preferences of any series of
outstanding Preferred Stock (as fixed by resolutions, if any, of the Board of Directors adopted in
accordance with the provisions of Article 4.B below and the Bylaws of the Corporation), in all assets
of the Corporation, in the event of any voluntary or involuntary liquidation, dissolution or winding
up of the affairs of the Corporation, or upon any distribution of the assets of the Corporation.

B. Preferred Stock. Preferred Stock may be issued at any time and from time to
time in one or more series. Subject to the provisions of this Fifth Amended and Restated Certificate
of Incorporation, the Board of Directors is hereby expressly authorized to fix from time to time by
resolution or resolutions, the designation of any series of Preferred Stock (which may be
distinguished by number, letter or title) and the number of shares of any series of Preferred Stock,
and to determine the voting powers, designations, preferences and relative, participating, optional or
other special rights, and the qualifications, limitations and restrictions thereof, of any such series,
including, without limitation, to provide that any such series may be: (i) subject to redemption
(including any sinking or purchase fund) at such time or times and at such price or prices or rate or
rates, and with such adjustments; (ii) entitled to receive dividends (which may be cumulative or non-
cumulative) at such rates, on such conditions, at such times, and payable in preference to, or in such
relation to, the dividends payable on any other class or classes or any other series of stock; (iii)
entitled to such rights upon the dissolution of, or upon any distribution of the assets of, the
Corporation; (iv) convertible into, or exchangeable for, shares of any other class or classes or of any

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other series of the same or any other class or classes of stock, at such price or prices or at such rate or
rates of conversion or exchange and any adjustments thereto; or (v) entitled to the benefit of
conditions and restrictions upon the creation of indebtedness of the Corporation or any subsidiary of
the Corporation, upon the issuance of any additional stock (including additional shares of such series
or of any other class or series) and upon the payment of dividends or the making of other
distributions on, and the purchase, redemption or other acquisition by the Corporation or any
subsidiary of the Corporation of any outstanding stock of the Corporation; all as may be stated in
such resolution or resolutions; provided, however, on or prior to the third anniversary of the
Effective Date, the affirmative vote of six (6) of the seven (7) directors of the Corporation shall be
required for any resolution or resolutions fixing the designation and number of shares of any series of
Preferred Stock and determining the voting powers, designations, preferences and relative,
participating, optional or other special rights, and the qualifications, limitations and restrictions
thereof. Further, within the limits and restrictions stated in any resolution or resolutions of the Board
of Directors originally fixing the number of shares constituting any such series, the Board of
Directors is authorized to increase or decrease (but not below the number of shares of such series
then outstanding) the number of shares of any such series subsequent to the issuance of shares of that
series. Shares of any series of Preferred Stock which have been redeemed (whether through the
operation of a sinking fund or otherwise) or otherwise acquired by the Corporation, or which, if
convertible or exchangeable, have been converted into or exchanged for shares of stock of any other
class or classes or series shall have the status of authorized and unissued shares of Preferred Stock
and may be reissued as a part of the series of which they were originally a part or may be reclassified
and reissued as part of a new series of Preferred Stock to be created by resolution or resolutions of
the Board of Directors or as part of any other series of Preferred Stock, all subject to the conditions
or restrictions on issuance set forth in the resolution or resolutions adopted by the Board of Directors
providing for the issuance of any series of Preferred Stock and to any filing required by law.

C. Non-Voting Stock. Notwithstanding anything herein to the contrary, the
Corporation shall not be authorized to issue non-voting capital stock of any class, series or other
designation to the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code; provided,
however, that the foregoing restriction shall (i) have no further force and effect beyond that required
under Section 1123(a)(6) of the Bankruptcy Code, (ii) only have such force and effect for so long as
such Section 1123(a)(6) is in effect and applies to the Corporation and (iii) be deemed void or
eliminated if required under applicable law.

5. Board of Directors.

A. General. The business and affairs of the Corporation shall be managed by, or
under the direction of, the Board of Directors. Directors need not be stockholders of the Corporation
or residents of the State of Delaware. Elections of directors need not be by written ballot. In
furtherance and not in limitation of the powers conferred upon it by the laws of the State of
Delaware, the Board of Directors is expressly authorized to make, adopt, alter, amend and repeal,
from time to time, the Bylaws of the Corporation, subject to the right of the stockholders entitled to
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vote with respect thereto to make, adopt, alter, amend and repeal Bylaws as provided in the DGCL.

B. Number. Except as otherwise provided by resolutions, if any, of the Board of
Directors fixing the relative powers, preferences and rights and the qualification, limitations or
restrictions of any series of Preferred Stock in accordance with the provisions of Article 4.B above,
the total number of directors constituting the entire Board of Directors shall be not less than three (3)
nor more than eleven (11), the exact number of directors to be fixed as provided herein for so long as
the Board of Directors is classified and, from and after such time, as fixed by, or in the manner
provided in, the Bylaws of the Corporation.

C. Classes of Directors; Terms of Office.

(i) From the Effective Date until the first annual meeting of stockholders
of the Corporation following the Effective Date (the “2011 Annual Meeting”), pursuant to Section
141(d) of the DGCL, the Board of Directors shall be and is divided into three classes, designated:
Class I, Class II and Class II. Class I shall comprise two directors, Class II shall comprise two
directors, and Class III shall comprise three directors, with the directors in Class I having a term
expiring at the 2011 Annual Meeting, the directors in Class IT having a term expiring at the second
annual meeting of stockholders of the Corporation following the Effective Date (the “2012 Annual
Meeting”) and the directors in Class III having a term expiring at the third annual meeting of
stockholders of the Corporation following the Effective Date (the “2013 Annual Meeting”).

(ii) Commencing with the election of directors at the 2011 Annual
Meeting, pursuant to Section 141(d) of the DGCL, the Board of Directors shall be divided into two
classes, designated: Class I and Class II. Class I shall comprise four directors and Class II shall
comprise three directors, with the directors in Class I having a term that expires at the 2012 Annual
Meeting and the directors in Class II having a term that expires at the 2013 Annual Meeting. The
successors of the directors who, immediately prior to the 2011 Annual Meeting, were members of
Class I (and whose terms expire at the 2011 Annual Meeting) shall be elected to Class J; the directors
who, immediately prior to the 2011 Annual Meeting, were members of Class II and whose terms
were scheduled to expire at the 2012 Annual Meeting shall become, with no further action or vote by
the stockholders, members of Class I; and the directors who, immediately prior to the 2011 Annual
Meeting, were members of Class III and whose terms were scheduled to expire at the 2013 Annual
Meeting shall become, with no further action or vote by the stockholders, members of Class II with a
term expiring at the 2013 Annual Meeting.

(iii) | Commencing with the election of directors at the 2012 Annual
Meeting of stockholders, pursuant to Section 141(d) of the DGCL, there shall be a single class of
directors designated Class I, and Class I shall comprise seven directors, with all directors of such
class having a term that expires at the 2013 Annual Meeting. The successors of the directors who,
immediately prior to the 2012 Annual Meeting of stockholders, were members of Class I (and whose
terms expire at the 2012 Annual Meeting) shall be elected to Class I for a term that expires at the
2013 Annual Meeting, and the directors who, immediately prior to the 2012 Annual Meeting, were
members of Class II and whose terms were scheduled to expire at the 2013 Annual Meeting shall

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become, with no further action or vote by the stockholders, members of Class I with a term expiring
at the 2013 Annual Meeting.

(iv) From and after the election of directors at the 2013 Annual Meeting of
stockholders, the Board of Directors shall cease to be classified as provided in Section 141(d) of the
DGCL, and the directors elected at the 2013 Annual Meeting (and each annual meeting thereafter)
shall be elected for a term expiring at the next annual meeting and may be removed with or without
cause.

(v) No decrease in the number of directors shall shorten the term of any
incumbent director. The term of each director shall continue until the election and qualification ofa
successor and be subject to such director's earlier death, resignation, retirement, disqualification or
removal.

D. Initial Board of Directors. The initial Board of Directors shall consist of the
following seven (7) directors (the “Initial Directors”), each appointed to the class of directors set
forth below:

(i) the Ad Hoc Independent (as defined in the Plan) and the CEO
Designee (as defined in the Plan) in Class I;

(ii) — the first Ad Hoc Designee (as defined in the Plan) and the Minority
Independent (as defined in the Plan) in Class II; and

(iii) | the second Ad Hoc Designee (as defined in the Plan), the Joint
Designee (as defined in the Plan) and the Minority Designee (as defined in the Plan) in Class III.

On or prior to the third anniversary of the Effective Date, any vacancy on the Board of
Directors resulting from an Initial Director’s death, resignation or removal for cause shall be filled by
such person or persons who designated such Initial Director in accordance with the Plan.

E. Removal. Any director or the entire Board of Directors may be removed, with
or without cause, by the holders of a majority of the shares at the time entitled to vote at an election
of directors; provided that for so long as the Board of Directors is classified pursuant to Section
141(d) of the DGCL, no Initial Director may be removed without cause. This Article 5 may not be
amended, modified or repealed except by the affirmative vote of the holders of not less than seventy-
five percent (75%) of the voting power of all outstanding shares of Common Stock of the
Corporation entitled to vote generally in the election of directors, considered for purposes hereof as a
single class.

F. Committees. The Board of Directors may, in the manner provided in the
Bylaws of the Corporation, designate one or more committees which, to the extent provided in the
Bylaws of the Corporation or any resolution of the Board of Directors, shall have and may exercise
the powers of the Board of Directors in the management of the business and affairs of the

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Corporation to the full extent permitted by law, and may authorize the seal of the Corporation to be
affixed to all papers which may require it. Such committee or committees shall have such name or
names as may be stated in the Bylaws of the Corporation or as may be determined from time to time
by resolution adopted by the Board of Directors.

6. Preemptive Rights. The holders of Common Stock shall have the right to subscribe
for any equity securities of the Corporation, or any securities convertible into or exchangeable or
exercisable for such securities of the Corporation now or hereafter authorized which the Corporation
proposes to issue for cash consideration (“New Securities”), such right to be exercisable, by the
holders of Common Stock for an aggregate amount of such New Securities up to the product of (x)
the amount of such New Securities to be issued and (y) a fraction, the numerator of which shall equal
the number of shares of Common Stock (on a fully diluted basis after assuming the exercise or
conversion of all outstanding convertible securities) then held by such holder, and the denominator
of which shall equal the aggregate number of shares of Common Stock then outstanding (on a fully
diluted basis); provided, however, that, for the avoidance of doubt and otherwise, this Article 6 shall
not apply to New Securities issued (1) to any employee, director or consultant pursuant to an
employment arrangement, employee incentive plan or similar arrangement approved by the Board of
Directors; (ii) in connection with a transaction in which the Corporation acquires an interest in
another Person (as defined below) or the assets of another Person, if such transaction is approved by
the Board of Directors; (iii) to a customer, vendor, licensor, business partner or other Person with a
similar strategic relationship to the Corporation if such issuance is approved by the Board of
Directors; (iv) as a stock dividend or upon any stock split, subdivision, combination or
reclassification of the equity securities of the Corporation; (v) in connection with a Public Offering
(as defined below); or (vi) pursuant to the conversion or exchange of securities convertible into or
exchangeable into equity securities of the Corporation that themselves are either issued pursuant to
the Plan or issued in accordance with or exempt from the provisions of this Article 6. In order to
exercise its purchase rights hereunder, the holder of Common Stock must deliver a written notice to
the Corporation within thirty (30) days after the earlier of delivery of notice or public announcement
by the Corporation regarding its intention to issue New Securities. If a holder of Common Stock
fails to exercise its rights pursuant to this Article 6, the Corporation shall be entitled to sell such New
Securities which such holder of Common Stock has not elected to purchase during the one hundred
eighty (180) days following such expiration on terms and conditions no more favorable to the
purchasers thereof than those offered to the holders of Common Stock. Any New Securities sold by
the Corporation after such one hundred eighty (180) day period must be reoffered to the holders of
Common Stock pursuant to the terms of this Article 6. The provisions of this Article 6 shall
terminate upon the completion of a Public Offering. “Person” means a natural person or any
partnership, limited liability company, trust, estate, association, corporation, custodian, nominee or
any other individual or entity in its own or any representative capacity or any other entity. “Public
Offering” means the sale in a public offering registered under the Securities Act of 1933, as
amended, of shares of Common Stock.

7. Stockholder Action Without a Meeting. Any action required or permitted to be taken
by the holders of Common Stock of the Corporation, including but not limited to the election or

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removal of directors, may be taken by written consent or consents but only if such consent or
consents are signed by holders of outstanding shares of Common Stock having not less than the
minimum number of votes that would be necessary to authorize or take such action at a meeting at
which all shares thereon were present and voted.

8. Limited Liability of Directors.

A. Personal Liability. To the fullest extent permitted by law, no director of the
Corporation shall be personally liable to the Corporation or its stockholders for monetary damages
for any breach of fiduciary duty as a director.

B. Indemnification. Each person (and the heirs, executors or administrators of
such person) who was or is a party or is threatened to be made a party to, or is involved in any
threatened, pending or completed action, suit or proceeding, whether civil, criminal, administrative
or investigative, by reason of the fact that such person, or a person for whom such person is the legal
representative, is or was a director of the Corporation or, while a director of the Corporation, is or
was serving at the request of the Corporation as a director, officer, employee or agent of another
corporation or of a partnership, joint venture, trust, enterprise or nonprofit entity, including service
with respect to employee benefit plans, shall be indemnified and held harmless by the Corporation to
the fullest extent permitted by applicable law against all liability and loss suffered and expenses
(including attorneys’ fees) reasonably incurred by such person. The right to indemnification
conferred in this Article 8 shall also include the right to be paid by the Corporation the expenses
incurred in connection with any such proceeding in advance of its final disposition to the fullest
extent authorized by the DGCL. The rights to indemnification and advancement conferred in this
Article 8 shall be contract rights and shall become vested by virtue of the director’s service at the
time when the state of facts giving rise to the claim occurred. The Corporation may, by action of its
Board of Directors, provide indemnification and advancement of expenses to such of the officers,
employees and agents of the Corporation to such extent and to such effect as the Board of Directors
shall determine to be appropriate and authorized by the DGCL. Notwithstanding anything to the
contrary contained in this Section 8.B, the Corporation shall be required to indemnify a person in
connection with a proceeding (or part thereof) commenced by such person only if the
commencement of such proceeding (or part thereof) by the person was authorized in the specific case
by the Board of Directors.

C. Insurance. The Corporation shall have power to purchase and maintain
insurance on behalf of any person who is or was a director, officer, employee or agent of the
Corporation, or is or was serving at the request of the Corporation as a director, officer, employee or
agent of another corporation, partnership, joint venture, trust or other enterprise against any expense,
liability or loss incurred by such person in any such capacity or arising out of such person’s status as
such, whether or not the Corporation would have the power to indemnify such person against such
liability under the DGCL.

D. Non-Exclusivity. The rights and authority conferred in this Article 8 shall not

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be exclusive of any other right which any person may otherwise have or hereafter acquire.

E. Applicability. Neither the amendment nor repeal of this Article 8, nor the
adoption of any provision of this Fifth Amended and Restated Certificate of Incorporation or the
Bylaws of the Corporation, nor, to the fullest extent permitted by the DGCL, any modification of
law, shall eliminate or reduce the effect of this Article 8 in respect of any acts or omissions occurring
prior to such amendment, repeal, adoption or modification. Any rights to indemnification or
advancement hereunder may not be amended or otherwise modified or limited without the express
written consent of the person entitled to such indemnification or advancement.

9. Registered Holders. The Corporation shall be entitled to treat the person in whose
name any share of stock is registered as the owner thereof for all purposes and shall not be bound to
recognize any equitable or other claim to, or interest in, such share on the part of any other person,
whether or not the Corporation shall have notice thereof, save as may be expressly provided
otherwise by law.

10. | Amendment or Repeal. Except as otherwise provided herein, the amendment, alteration
or repeal of any provision of this Fifth Amended and Restated Certificate of Incorporation shall require
the affirmative vote of the holders of at least a majority of the then outstanding shares of Common
Stock; provided, however, prior to the third anniversary of the effective date of the Plan, the following
shall require the affirmative vote of the holders of at least seventy-five percent (75%) of the then
outstanding shares of Common Stock:

A. any amendment, alteration or repeal of Article 4, Article 5, Article 6 or this
Article 10 of this Fifth Amended and Restated Certificate of Incorporation; or

B. any amendment or alteration of this Fifth Amended and Restated Certificate of
Incorporation if such amendment or alteration would be inconsistent with the Plan, including the
addition of any limitation on the number of holders of Common Stock.
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IN WITNESS WHEREOF, the Corporation has caused this Fifth Amended and Restated
Certificate of Incorporation to be signed by [ ], its [ ], this [ Jth day of [ ], 2010.

NEENAH ENTERPRISES, INC.

Neenah Enterprises, Inc.
Fifth Amended and Restated Certificate of Incorporation
